 Case 2:02-cr-00087-TS Document 416 Filed 07/06/07 PageID.1112 Page 1 of 3




                  IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 UNITED STATES OF AMERICA,
             Plaintiff,                                 MEMORANDUM DECISION AND
                                                        ORDER GRANTING DEFENDANT’S
                                                        PRO SE MOTION FOR EARLY
                                                        TERMINATION OF SUPERVISED
                                                        RELEASE


                     vs.


 KRYSTAL MCCLISTER HEMSLEY,                             Case No. 2:02-CR-87-002 TS
             Defendant.




         This matter is before the Court on Defendant Krystal McClister Hemsley’s “Pro Se

Motion for Early Termination of Supervised Release,” filed June 22, 2007.1 The government

filed a response on July 5, 2007.2 Having considered the file, the circumstances presented by this

case, and being otherwise fully informed, the Court will grant Defendant’s Motion, as set forth

below.




         1
             Docket No. 413.
         2
             Docket No. 415.

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  Case 2:02-cr-00087-TS Document 416 Filed 07/06/07 PageID.1113 Page 2 of 3




                                         BACKGROUND

        On March 11, 2003, Defendant pleaded guilty to counts 3 and 4 of the Indictment.

Defendant was sentenced on September 25, 2003, to a 41-month term of incarceration, to be

followed by a 36-month term of supervised release. Judgment was entered on September 26,

2003. Defendant began her term of supervised release on September 19, 2005, and is scheduled

to complete her term on September 18, 2006.

                                           DISCUSSION

        18 U.S.C. §§ 3583(e) permits the Court to terminate supervised release at any time after a

defendant has completed at least one year of supervised release, but prior to completion of the

entire term, if the Court is satisfied that such action is 1) warranted by the conduct of an offender

and 2) is in the interest of justice. In making this determination, the Court is directed to consider

the factors set forth in 18 U.S.C. § 3553(a), to the extent they are applicable.

        The Court has considered these factors, has reviewed the docket and case file, and has

consulted with Defendant’s supervising officer. It has been represented to the Court that

Defendant has satisfied her court ordered obligations and has maintained full-time employment.

Defendant has completed the Residential Drug Abuse Program and has successfully completed

outpatient substance abuse treatment. Additionally, Defendant has abstained from the use of

illicit substances.

        Therefore, the Court finds that early termination of Defendant’s term of supervised

release is both warranted by the conduct of the offender and in the interest of justice.




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 Case 2:02-cr-00087-TS Document 416 Filed 07/06/07 PageID.1114 Page 3 of 3




                                         CONCLUSION

       Based upon the above, it is hereby

       ORDERED that Defendant’s Pro Se Motion for Early Termination of Supervised Release

(Docket No. 413) is GRANTED; it is further

       ORDERED that Defendant’s term of supervised release shall be terminated effective

immediately, and this case shall be closed.

       SO ORDERED.

       DATED this 6th day of July, 2007.

                                              BY THE COURT:


                                              ___________________________________
                                              TED STEWART
                                              United States District Judge




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